              Case 2:01-cr-00471-GEB Document 124 Filed 02/05/07 Page 1 of 1


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7                          IN THE UNITED STATES DISTRICT COURT
8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,            )    2:01-cr-471-GEB
                                          )
11        Plaintiff-Respondent,           )
                                          )
12        v.                              )
                                          )
13   HENG LY KAING,                       )    ORDER
                                          )
14        Defendant-Petitioner.           )
                                          )
15
16                On January 26, 2007, Defendant-Petitioner filed an Ex Parte
17   Petition for Modification of Supervised Release.            The request is
18   denied.     Defendant-Petitioner shall be served with a copy of this
19   Order at 932 Andrews Street, Jacksonville, Texas, 75766.
20   Dated:     February 2, 2007
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22                                       GARLAND E. BURRELL, JR.
23                                       United States District Judge

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